           Case 1:12-cr-00418-AWI-BAM Document 35 Filed 08/08/13 Page 1 of 2


1    DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
2    1318 K. Street
     Bakersfield, CA 93301
3    Tel: (6610326-0857
     Fax: (661)326-0936
4    Email: lawtorres@aol.com
5    Attorney for:
     ENRIQUE RODRIGUEZ
6

7

8                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT of CALIFORNIA
10
                                                    ) Case No.:12-CR-000418-AWI-BAM
11   UNITED STATES OF AMERICA,                      )
                                                    )
12                 Plaintiff,                       ) STIPULATION AND ORDER TO
                                                    ) CONTINUE STATUS CONFERENCE
13          vs.                                     )
                                                    )
14   ENRIQUE RODRIGUEZ,                             )
                                                    )
15                 Defendant                        )
16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
17   BARBARA A. MCAULIFFE AND KATHLEEN SERVATIUS, ASSISTANT UNITED
18   STATES ATTORNEY:
19          COMES NOW Defendant, ENRIQUE RODRIGUEZ, by and through his attorney of
20   record, DAVID A. TORRES hereby requesting that the Status Conference currently set for
21   Monday, August 12, 2013 be continued to Monday, September 23, 2013.
22          I am requesting a continuance in order to conduct further investigation in this matter. I
23   have spoken to AUSA Kathleen Servatius, she has no objection to continuing the Status
24   Conference.
25




                                       Summary of Pleading - 1
               Case 1:12-cr-00418-AWI-BAM Document 35 Filed 08/08/13 Page 2 of 2


1              The defendant is willing to continue excluding time through the next court

2    appearance and that the ends of justice in the exclusion outweigh defendant’s speedy trial

3    rights.

4              The parties also agree the delays resulting from the continuance shall be excluded in the

5    interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).

6    //

7    //

8              IT IS SO STIPULATED.

9                                                                   Respectfully Submitted,

10   DATED: 8/8/13                                                  /s/ David A Torres          ___
                                                                    DAVID A. TORRES
11                                                                  Attorney for Defendant
                                                                    Enrique Rodriguez
12

13
     DATED:8/8/13                                                   /s/Kathleen Servatius________
14                                                                  KATHLEEN SERVATIUS
                                                                    Assistant U.S. Attorney
15

16
                                                   ORDER
17

18
               IT IS SO ORDERED that the 4th Status Conference hearing be continued from August
19
     12, 2013 to September 23, 2013 at 1:00 P.M. before Judge McAuliffe.
20

21
     Dated:      August 8, 2013                       /s/ Barbara A. McAuliffe
22
                                             UNITED STATES MAGISTRATE JUDGE
23

24

25




                                          Summary of Pleading - 2
